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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


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    In re PAYMENT CARD INTERCHANGE       :   MDL No. 1720(MKB)(JAM)
    FEE AND MERCHANT DISCOUNT            :
    ANTITRUST LITIGATION                 :   Civil No. 05-5075(MKB)(JAM)
                                         :
                                         :   RULE 23(b)(3) CLASS COUNSEL’S
                                         :   MONTHLY REPORT REGARDING THIRD-
    This Document Relates To:                PARTY ENTITIES
                                         :
             ALL ACTIONS.                :
                                         :
                                         x




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    I.        INTRODUCTION

              This is the tenth monthly report regarding third-party claims filers following the Court’s

    request.

              Rule 23(b)(3) Class Counsel (“Class Counsel”) and Epiq continue to receive communications

    regarding third parties. This month, there were 31 new communications received by Epiq and

    multiple communications received by Class Counsel. Calls received via the toll-free number are

    tracked and reported to Class Counsel from Epiq. Class Counsel also directly receives calls and

    emails regarding third parties that are followed up on immediately. Additionally, Class Counsel

    regularly searches online using various keywords in an attempt to monitor what is a fluid situation. A

    number of contacts this month came through the conflicts process. More than 75 class member

    contacts have been received since the last reporting period through the email address set to handle

    conflicts (conflicts@paymentcardsettlement.com). These contacts are generally class members who

    were confused or had questions regarding their record being in conflict with a third-party filer. In

    total, 14 different companies or law firms were noted in these communications.

              In this report, Class Counsel describes current issues related to third parties.
    II.       UPDATE REGARDING MILBERG

              A.        Class Counsel’s Update

              Following the Court’s July 13, 2024 Order, Class Counsel has sought to make a referral

    regarding Ms. Laverne Hallak to law enforcement. On July 15, 2024 and July 17, 2024, Class

    Counsel left detailed messages on the U.S. Attorney’s intake phone line. Class Counsel requested a

    return call. After not receiving a response to the voicemails, Class Counsel sent a letter to the U.S.

    Attorney on July 22, 2024. The letter was hand delivered and sent via overnight mail. In the letter,

    Class Counsel requested an acknowledgement of receipt of the referral. Class Counsel received an

    email from the U.S. Attorney’s office on July 25, 2024, acknowledging receipt of Class Counsel’s

    letter.




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              Further, Milberg has confirmed that the firm has paid Epiq the agreed $25,000 related to this

    matter.
              B.        Status Report from Milberg Coleman Bryson Phillips Grossman,
                        PLLC Pursuant to Court’s Order Dated July 13, 2024 (ECF. No.
                        9354)

              Pursuant to the Court’s Order dated July 13, 2024 (ECF No. 9354), the law firm of Milberg

    Coleman Bryson Phillips Grossman LLC (“Milberg”) submits the following status report regarding

    any pending claims submitted to Epiq:

              As of the date of this filing,

                       Withdrawn: Milberg has withdrawn 3,120 claims submitted to Epiq. Reasons
                        range from lack of response to request for affirmation of Milberg’s representation,
                        lost but resolved conflicts, or lacking transaction and interchange fee data to which
                        claimants did not respond to Milberg’s attempts to cure.

                       Approved: Epiq has approved 1,125 claims submitted by Milberg. Of those, 124
                        have been filed under the Research Request process within the claim portal. Milberg
                        intends to file the remaining 1,001 approved claims over the next 2 weeks plus any
                        other conflicted claims that resolve timely.

                       Deficient: Epiq has identified 33 deficient claims submitted by Milberg. Milberg
                        has otherwise processed all deficiencies that have been flagged for resolution.
                        Milberg is waiting for Epiq to publish a deficiency notice for the remaining 33 claims
                        that have been flagged as deficient.

                        Conflicts: Milberg has been notified of 758 remaining conflicts for claims it
                        submitted to Epiq. Milberg has resolved a number of these conflicts between it and
                        other third-party filers and informed Epiq of same. However, Epiq has not updated
                        some of this information in its portal yet. Of the 758 claims, Milberg has 145
                        conflicts with merchants who submitted on their own behalf. Milberg has made
                        several attempts to contact these merchants to no avail and will be withdrawing these
                        claims. Milberg is attempting to resolve an additional 38 conflicts with merchants
                        with whom it has been in contact, but if Milberg is unsuccessful in resolving those
                        conflicts, it will withdraw those claims as well. There are 434 outstanding
                        unresolved conflicts between Milberg and other third-party filers which are in
                        various stages of resolution discussions.

              Lastly, Milberg does not intend to register any additional claims with Epiq going forward.




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    III.     CURRENT ISSUES

             A.         National Processing Alliance Inc. Class Member Complaint

             On July 23, 2024, Class Counsel was alerted to a call Epiq received regarding an unknown

    third party at the time. A class member in Florida contacted Epiq after receiving a call purporting to

    be from the official settlement administrator. The class member became suspicious after receiving a

    call that stated that the merchant’s potential claim and award amount based on their monthly

    averages would entitle them to receive between $5,000-$6,000 for their award. However, in order to

    be eligible for this award they needed to have an auditor come to their place of business. Also, since

    their award was purportedly over $3,000, they would fly their auditor out to speak with the owner of

    the business who would need to sign on behalf of the business in order to “file the claim.” The class

    member, believing this to be legitimate, scheduled a day for the “auditor” to arrive. Upon hanging

    up, the class member immediately had second thoughts leading her to call Epiq’s toll-free number.

    Class Counsel spoke with the class member on July 24, 2024, and confirmed that Epiq does not send

    auditors, and that it appeared this class member had received false and misleading information.

             The class member only had a phone number to contact the caller. Class Counsel left a

    message at that number after receiving a recorded response that all agents were busy. On the

    morning of July 24, 2024 multiple calls to the number that appears to be based in Florida said to

    “stay on the line to be connected,” but rang without answer. An internet lookup for the number did

    not provide any results. However, on the afternoon of July 24, 2024, Class Counsel received a call

    from Thomas Fuhrman of National Processing Alliance Inc.1 Mr. Fuhrman was agitated on the call

    when Class Counsel began to relay the issues raised by the class member; he insisted that his

    company follows all the rules and that “you can’t do a single thing to me.” He ended the call by

    hanging up. Class Counsel called Mr. Fuhrman back and attempted to explain the details that the

    class member had relayed. He questioned Class Counsel’s position at her firm and stated that he did


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        Based on the company’s website, it appears it is primarily a payment processor.               See
    https://nationalprocessingalliance.com/.

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    not believe Class Counsel had any authority. He also denied any of the information relayed by the

    class member was true. He stated his company provides claims-filing services for free and that all

    calls are recorded. When asked whether he uses the settlement as a means by which he then sells

    processing services, he stated that he did not have to answer. Class Counsel stated a report was due

    to the Court in two days and that this matter would be reported. Mr. Fuhrman became increasingly

    agitated and again hung up on Class Counsel.

             Class Counsel is concerned that merchants are being misled by this entity, but are not sure

    how to gain an understanding as to what exactly is being conveyed to merchants and whether the

    disclaimers are present as it appears much of the communication is by telephone and not in writing.

             It is Class Counsel’s suggestion that the company be ordered to show cause that they are

    including the Court-mandated disclaimers in all solicitations, that they are not purporting to be from

    the official settlement administrator, and that they are providing only accurate and truthful

    information.
             B.         Law Firm Providing Incorrect Information

             Class Counsel was alerted that a posting on LinkedIn from a group that had contracted with a

    law firm to provide claims-filing services to members failed to include the required disclaimers and

    had several incorrect statements. Class Counsel contacted the firm and the law firm had the post

    taken down within 24 hours. At this time, no further action is suggested in regards to this specific

    issue.
             C.         Other Complaints Regarding the Law Firm

             Class Counsel was alerted to certain YouTube videos that were from an online web services

    advertising entity (AddTraffic) that had partnered with the law firm Betz & Baril and an entity called

    ClickFunds. These videos contained numerous false and misleading statements regarding the

    settlement, including statements regarding purported numbers of claims filed, expected payouts and

    incorrect information regarding the filing process. The disclaimers were also not present on the

    materials. On the day that Class Counsel was alerted to these videos, a letter was sent to Betz &

    Baril, AddTraffic (the advertising company), and ClickFunds demanding that the videos be taken
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    down and that the law firm contact Class Counsel immediately to discuss the matter. Letters were

    received from the advertising company, from Betz & Baril and from ClickFunds. Each vowed to

    remove the offending content right away, with the advertising company sending a new draft video

    for review. The law firm has also agreed to send a letter to the approximately 1,700 clients that may

    have signed up following receipt of misleading information, explaining that false and/or misleading

    information had been given and that any merchant that signed up for the firm’s services could

    cancel, no questions asked. Class Counsel has reviewed the proposed communication and the letter

    appears to properly inform Class Members of their right to file on their own. It also appears the

    entities have in fact removed the questionable videos and the law firm has indicated that they are no

    longer working with ClickFunds or the advertising company.

             Because of the seriousness of these matters, Class Counsel has offered Betz & Baril the

    opportunity to address these issues in this Report. The firm’s statement is below.
             D.         Betz & Baril’s Statement

             It has come to our attention that various marketing materials done on Betz & Baril’s behalf

    may have false and misleading information. To that end, we immediately had those materials pulled

    from the web. In addition, we were informed one of our agents may have suggested to a client

    knowing when and/or how much a merchants payout will be. We have gone back to all of our

    agents/employees and reminded them that we can’t know what the payout will be until the pro rata

    percentage is issued nor can we know when payment will be issued and if anyone is caught saying

    otherwise it will lead to immediate termination from Betz & Baril. We are also sending out a

    corrective email to 1700 plus clients in question letting them know they can withdraw their contract

    with us at any time, no questions asked. Lastly, Betz & Baril has requested that all Visa/MC internet

    marketing cease on our behalf and to have everything pulled ASAP but no later than 7/28/24. Betz

    and Baril takes the advertising rules of this court very seriously and we have done the following

    corrective measures as well as working with class counsel to try and prevent these issues from

    arising again.


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             E.         Serendipity Funding Recovery Group, LLC Issues

             On July 23, 2024, Class Counsel was alerted to an email sent to a class member from a group

    called “GetYouProcessing” that lacked any of the Court-ordered disclaimers and claimed that the

    company had already recovered more than $140 million for clients. The email led to the website for

    Serendipity Funding Recovery Group, LLC (“Serendipity Funding”). On that site, there is a video

    that also fails to include the Court-ordered disclaimers and wrongly suggests that in order to file a

    claim directly with the administrator, class members are required to gather all data from 2004-2019.

    Class Counsel wrote to both Serendipity Funding and the person who sent the email on July 23,

    2024. Class Counsel noted the various false and/or misleading statements and also noted the lack of

    disclaimers. Class Counsel requested that corrections be made and that notice go out to those that

    may have signed up following receipt of incorrect information. Class Counsel requested a response

    by July 25, 2024. On July 24, 2024, counsel for Serendipity Funding responded to Class Counsel.

    Counsel for Serendipity Funding stated that all videos had been taken down. Counsel for

    Serendipity did not address the statements made by the “GetYouProcessing” agent but stated that

    going forward all email templates must be submitted to counsel for prior approval.
    IV.      OUTREACH TO THIRD PARTIES BY EPIQ

             As Class Counsel previously reported, since August 18, 2023, Epiq has been performing

    specific outreach efforts to known third-party claims filers.

             As of July 15, 2024, Epiq has been in communication with 279 third-party filers, law firms,

    and non-traditional bulk filers following the outreach that took place on August 18, 2023. Of those

    279 third parties, Epiq has received client lists from 142 third-party claim filers claiming

    representation of 10 or more claimants. Those third parties claim total representation of 445,978 Tax

    Identification Numbers (“TIN”). It should be noted filers representing 2 or more claimants claim

    total representation of 446,435 TINs. These client lists also include multiple rows for a single TIN,

    and multiple rows that lack TINs or have invalid TINs (alphabetic characters, too few or too many

    digits). Several third-party claims filers have combined their documentation into a single .pdf that

    covers multiple clients, so the true number is likely higher than the current document count can
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    substantiate. Work continues, including the development of processes to efficiently handle the

    expected increase in third-party claims.
    V.       CONCLUSION

             Class Counsel will continue to apprise the Court regarding issues with third-party claims

    filers via monthly reports and will bring urgent matters to the Court’s attention via letter or other

    means should the Court wish a different method to be used. The next monthly report will be filed on

    August 27, 2024.
    DATED: July 26, 2024                          ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
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